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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                     Criminal No.: 21-CR-108 (PAM/TNL)(2)

UNITED STATES OF AMERICA,               )
                                        )
                           Plaintiff,   )
vs.                                     )   DEFENDANT THAO’S POSITION
                                        )   WITH RESPECT TO SENTENCING
                                        )
TOU THAO,                               )
                                        )
                                        )
        Defendant.                      )



        Tou Thao, by and through counsel, respectfully asks that the Court

calculate his advisory Guidelines Range at 24-30 months, or alternatively,

grant him a post-Booker variance, and impose a sentence of 24 months

imprisonment. Such a sentence would be sufficient, but not greater than

necessary to achieve the goals outlines in § 3553(a)(2).




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          OBJECTIONS TO THE PRESENTENCE REPORT


Mr. Thao objects to several portions of the PSR. Specifically:

Paragraph 12:

   • Mr. Thao objects to the inclusion of paragraph 12 in that it is not

      relevant to the offense conduct. Alternatively, Mr. Thao suggests the

      following edits to paragraph 12.

   1. Mr. Thao objects to the inclusion of paragraph 12 in that it does not

      accurately reflect his training, but instead lumps the training of all co-

      defendants together. Specifically, it incorporates training that Officers

      Lane and Kueng received during their academy training, which differs

      in content from what Mr. Thao recieved. Any training co-defendants

      received that was not given to Mr. Thao should be eliminated in that it

      is irrelevant.

   2. Mr. Thao objects to training on officers making false statements (first

      bullet point of paragraph 12) because there were no allegations that

      Mr. Thao made false statements when he was a police officer.

   3. Mr. Thao objects to the inclusion of any reference to neck restraint

      training in paragraph 12 (the 2nd to 5th bullet points on page 6 of 26)

      because there was no neck restraint used in the offense at hand. This

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   change is based upon Mr. Thao’s testimony and evidence presented at

   trial.

4. The second bullet point on page 7 should include the following

   sentence at the end: A subject should be rolled into the side-

   recovery position, when it is safe to do so, per MPD

   policy/training on excited delirium. This change is based upon Mr.

   Thao’s testimony and evidence presented at trial.

5. Mr. Thao objects to the third bullet point on page 7 of 26. This bullet

   point should not be included because Mr. Thao never received

   training that “whenever a subject is restrained, there is a direct

   correlation between their ability to breathe and the position their body

   is in”. Counsel refers to Mr. Thao’s testimony and training records.

6. Mr. Thao objects to the second to last bullet point of paragraph 12 on

   page 7 of 26. This bullet point contradicts the training Mr. Thao was

   given as a police officer during his time in the academy, contradicts

   training given to him during his time at Fairview Hospital, and

   experience he had with paramedics. Instead it should read: “Mr. Thao

   learned through training and experience that if a person is

   speaking, they have enough air to breathe”. This change is based

   upon Mr. Thao’s testimony at trial.


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  7. Mr. Thao requests an amendment to paragraph 12 to include all

     training he received on Excited Delirium Syndrome (“ExD”), As of

     now the PSR lacks mention of ExD training Mr. Thao received, which

     is relevant regarding the decisions he made during the offense. This

     change is based upon Mr. Thao’s testimony at trial.

Paragraph 13:

  • Mr. Thao objects to the inclusion of this paragraph in whole. This

     paragraph outlines the prosecution’s legal theories and arguments and

     cites to court cases and the Constitution. These are not appropriate to

     include in the PSR “Offense Conduct” section.

Paragraph 14:

  • Mr. Thao objects to the inclusion of the word “allegedly”. It was

     proven at trial that Mr. Floyd did in fact offer a counterfeit US dollar

     bill at CUP Foods.

  • Mr. Thao requests that additional information be added to Paragraph

     14 to reflect that the dispatch information included that Mr. Floyd was

     “under the influence” per the reporting party at CUP Foods. This

     change is based upon Mr. Thao’s testimony and evidence presented at

     trial.




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Paragraph 16:

  • Mr. Thao requests amendment of the paragraph to reflect testimony

     and video evidence that Mr. Floyd made furtive movements in the

     Mercedes vehicle, resisted arrest, and was ingesting narcotics in pill

     form during the incident. This change is based upon video evidence

     presented and testimony at trial.

  • Mr. Thao requests an amendment of the paragraph to include that Mr.

     Floyd was under legal arrest and not free to leave.

Paragraph 18:

  • Mr. Thao requests an amendment of the paragraph to reflect that

     dispatch informed Mr. Thao that the suspect (George Floyd) was

     under the influence. This change is based upon evidence presented at

     trial.

  • Mr. Thao requests an amendment of the paragraph to reflect that he

     knew based off training and experience, and told Officer Chauvin that

     the block Cup Foods was in was Bloods gang territory. Additionally,

     Mr. Thao requests that it be included that one of the passengers in the

     vehicle Mr. Floyd was arrested in was wearing all red – a sign that

     someone may be involved with the Bloods gang. This change is based

     upon Mr. Thao’s testimony and evidence presented at trial.

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  • Mr. Thao requests that an amendment to the paragraph be made to

     read that “Mr. Thao testified that he suspected Mr. Floyd may be

     suffering from Excited Delirium Syndrome and suggested the

     Maximal Restraint Technique (MRT) to restrain Mr. Floyd, pursuant

     to MPD training and policy on Excited Delirium Syndrome.” This

     change is based upon Mr. Thao’s testimony at trial.

Paragraph 19:

  • Mr. Thao suggests that the last sentence be changed to “Thao stood

     between the squad car and the sidewalk to ensure control of the

     growing and angry crowd so that officers and Mr. Floyd were

     kept safe from them and paramedics could easily administer aid

     without bystander interference. Mr. Thao also maintained safety

     of the scene by keeping watch on traffic while Mr. Floyd was

     restrained.” This change is based upon testimony at trial.

Paragraph 20:

  • Mr. Thao requests an amendment of the paragraph to included that

     “Mr. Thao testified that it was his belief the other three officers

     were restraining Mr. Floyd because they too thought he was

     suffering from Excited Delirium. Per MPD training, a suspected

     Excited Delirium subject is to be held until paramedics arrive to

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     sedate and administer aid. MPD trains officers that if a Excited

     Delirium subject is not restrained they could attack officers,

     bystanders, or exhaust themselves into cardiac arrest and die”.

     This change is based upon testimony at trial.

Paragraph 21:

  • Mr. Thao objects to the bolded “defendants” and request that it be

     changed to “to Chauvin”. Mr. Thao requests the sentence be edited to

     “Mr. Floyd made repeated statements regarding his alleged inability

     to breath due to the restraints”. It is Mr. Thao’s position that it is

     important to remove “neck” in “neck restraint” because Dr. Baker

     testified that there was no medical evidence to suggest that Mr.

     Floyd’s inability to breathe was due to compression of the neck.

Paragraph 22:

  • Mr. Thao objects to the first sentence as contrary to trial testimony.

     Instead he requests the sentence read “At 8:20 p.m., Mr. Floyd

     continued to resist arrest….”

  • Mr. Thao requests that the following sentence be added after the quote

     "we’ll just hold him until EMS”: “Mr. Thao was specifically taught

     by MPD that it is policy to hold a person suspected of having

     Excited Delirium in a restraint until EMS arrives and can

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     administer sedation and/or aid”. This change is based upon Mr.

     Thao’s testimony at trial.

  • Mr. Thao incorporates Mr. Kueng’s objection to paragraph 22 in that

     the portion regarding “No, just leave him” should reflect the

     testimony and body worn camera footage shown in trial to read as:

     “Lane asked, “Should we get his legs up or is this good?” Chauvin

     responded, “No, just leave him.” and Kueng repeated Mr.

     Chauvin’s statement by stating, “just leave him” for Lane’s

     benefit.” This change is based upon Mr. Thao’s testimony at trial.

Paragraph 24:

  • Mr. Thao objects to the paragraph as is and requests the last two

     sentences read instead as: “The bystanders made repeated statements

     (removed “to the defendants”) regarding concerns about the

     perceived unreasonable force due to Mr. Floyd’s lack of resistance,

     the (“neck” removed) restraint employed by Chauvin; and Mr.

     Floyd’s inability to breath due to the manner of the restraint.

     (removed last phrase) Chauvin, Thao, and Kueng each made

     statements to the effect that Mr. Floyd must be able to breathe if he is

     able to speak, per their training at MPD. Chauvin, Lane, and

     Kueng continued to restrain Mr. Floyd. Mr. Thao testified that it

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     was his belief that this was in line with the MPD Excited Delirium

     training.”

Paragraph 25:

  • Mr. Thao incorporates Mr. Kueng’s objection and amendments to

     Paragraph 25.

  • Mr. Thao requests the following sentence be added: This was

     consistent with MPD training and protocols regarding excited

     delirium.

Paragraph 26:

  • Mr. Thao objects to the second bolded “the defendants”, instead it

     should be replaced with “Chauvin” because only Chauvin was

     performing a restraint visible to bystanders. This change is based upon

     Mr. Thao’s testimony and evidence presented at trial.

  • Mr. Thao objects to the second to last sentence’s portion reading

     “reposition Mr. Floyd without Chauvin’s knee obstructing his ability

     to breathe”. Mr. Thao requests that this be removed or rephrased as

     “reposition Mr. Floyd without Chauvin’s knee restraint” because

     there was no medical evidence that Chauvin’s knee on Mr. Floyd’s

     neck prevented breathing. This change is based upon testimony and

     evidence presented at trial.

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Paragraph 27:

  • Mr. Thao objects to the first bolded “the defendants”. Instead he

     believes it should accurately read “Chauvin, Kueng, and Lane”

     because Mr. Thao did not perform a restraint.

  • Mr. Thao objects to any mention of Genevieve Hanson as an off-duty

     firefighter. Her job is irrelevant because she was not on-duty. Instead,

     where appropriate, it may be accurate to list that she is only trained in

     CPR, but has no further medical training, MPD police training, or

     training on excited delirium.

  • Mr. Thao objects to the final sentence regarding Kueng’s pulse checks

     because Mr. Thao did not observe or hear this, thus is should not be

     included in his offense conduct. This change is based upon Mr.

     Thao’s testimony at trial.

Paragraph 28:

  • Mr. Thao objects to inclusion of Genevieve Hanson’s occupation as

     irrelevant.

  • Mr. Thao objects to the inclusion of the sentence “Kueng checked Mr.

     Floyd’s wrist a second time for a pulse, and Kueng said ‘Can’t find

     one’” because it is irrelevant as Mr. Thao did not observe or hear this.

     This change is based upon Mr. Thao’s testimony at trial.

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  • Mr. Thao request the following information be added regarding not

     allowing an off-duty firefighter on scene to assist: It should be noted

     that MFD employees have no training on excited delirium. This

     change is based upon testimony at trial.

Paragraph 29:

  • Mr. Thao requested the following addition at the end of the paragraph:

     “A paramedic testified that he anticipated that Mr. Floyd was

     potentially in excited delirium based upon the information he was

     provided prior to arriving on scene.” This change is based upon

     testimony at trial.

Paragraph 30:

  • Mr. Thao objects to Genevieve Hanson’s job as irrelevant.

  • Mr. Thao objects to statements made by Genevieve Hanson as

     irrelevant in this paragraph and requests the quote from her be

     removed.

Paragraph 31:

  • Mr. Thao objects to the final sentence and requests it be edited as:

     “Thao stood between the squad car and the crowd and looked back at

     the scene at different times during the restraint. Mr. Thao

     testified that he positioned himself in this manner to control the

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     angry crowd from interfering with scene safety and medical aid

     and ensure the safety of the involved officers and Mr. Floyd.”

Paragraph 32:

  • Mr. Thao request that “agreed” be changed to volunteered regarding

     Mr. Lane’s involvement doing CPR in the ambulance. This change is

     based upon testimony at trial.

Paragraph 33:

  • Mr. Thao objects to the bolded “the defendants” and request that it

     should read Chauvin, or alternatively Chauvin, Kueng, and Lane.

     This change is based upon Mr. Thao’s testimony and evidence

     presented at trial.

  • Mr. Thao objects to the sentence regarding Lane’s disclosure because

     it is irrelevant to Mr. Thao’s offense conduct.

Paragraph 34:

  • Mr. Thao objects to the quotation “full arrest” and refers back to his

     body worn camera exhibit(s) for a more accurate statement.

  • Mr. Thao objects to the final sentence regarding whether he did not

     reference the report of Mr. Floyd. MFD was aware of the same

     dispatch information given to Mr. Thao about Mr. Floyd’s condition

     as all MFD vehicles have dispatch logs updating on their computers.

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     Instead, Mr. Thao requests the sentence read: “Thao relayed the

     information to MFD that they were needed at 36th and Park.” This

     change is based upon Mr. Thao’s testimony at trial.

  • Mr. Thao request the following sentence be added at the end of the

     paragraph: MFD disregarded Thao’s information and instead went

     into Cup Foods in an attempt to locate Mr. Floyd, further

     delaying their ability to render medical assistance. This change is

     based upon testimony and evidence presented at trial.

Paragraph 36:

  • Mr. Thao objects to the bolded defendants and request that it list the

     other officers without him, as he was not interviewed. Mr. Thao refers

     to trial exhibits showing him walking away before the interview was

     conducted.

Paragraph 37:

  • Mr. Thao request the following phrase be removed as irrelevant to his

     conduct: “After the defendants’ statements to the Sergeant”. This is

     because Mr. Thao was never interviewed by a sergeant on scene.




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Paragraph 38:

  • Mr. Thao objects to the entire paragraph because he was not

     interviewed and thus the information is irrelevant to his offense

     conduct.

Paragraphs 39, 40, 41:

  • Mr. Thao objects to the inclusion of these paragraphs because they

     outline the prosecution’s theory of the case and include information

     not available to Mr. Thao during the offense. Additionally, they are

     irrelevant to the offense conduct in that they are overbroad and depict

     Mr. Thao as a restrainer of Mr. Floyd when the evidence demonstrates

     that Mr. Thao never once touched Mr. Floyd.

Paragraph 42:

  • Mr. Thao objects to the inclusion of Count 1 because he was not

     charged or convicted of that offense.

  • In Count 2, Mr. Thao requests that the following sentences be

     removed because they are irrelevant to his personal offense conduct:

     “Kueng additionally observed that Mr. Floyd had no detectable pulse.

     However, they did not do or say anything to intervene to attempt to

     stop Chauvin’s restraint”.




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• In Count 2, Mr. Thao requests the following sentences be added to the

   paragraph:

      o Mr. Floyd complained of inability to breathe while being

         removed from the squad car and prior to the restraint on

         the ground.

      o Mr. Thao testified that he was trained the MPD policy was

         to restrain a person suspected of excited delirium until

         medical assistance arrives to take over control.

• In Count 2, at the end of the sentence ending “…failed to intervene or

   take reasonable steps to do so”, Mr. Thao would like added “… steps

   to do so, following their MPD training/protocols on excited

   delirium.” This change is based upon Mr. Thao’s testimony at trial.

• In Count 2, Mr. Thao objects to the following sentence and ask it be

   removed: “Thao and Kueng were aware from their MPD policy

   education and training that they had a duty to intervene to stop, or

   attempt to stop, Chauvin’s unreasonable force”.

• In Count 2, Mr. Thao objects to the sentence beginning “Thao and

   Kueng observed and heard that Mr. Floyd…” and asks that his name

   be removed in this sentence to reflect trial testimony and exhibits.




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• In Count 3, Mr. Thao asks that the first three bolded defendants be

   changed to Chauvin, Kueng, and Lane to reflect his lack of

   involvement with the restraint.

• In Count 3, Mr. Thao request that the following sentence be added:

   Mr. Thao called for EMS and stepped up the response from a

   Code 2 to a Code 3. This change is based upon Mr. Thao’s testimony

   at trial.

• In Count 3, Mr. Thao objects to the inclusion of Genevieve Hanson’s

   occupation because it is irrelevant.

• In Count 3, at the bottom of page 13, Mr. Thao objects to the sentence

   reading in part “… but the defendants never took actual measures…”

   because he called EMS and upgraded to a Code 3. Instead, he requests

   that this be changed to the other three defendants or Chauvin,

   Kueng, and Lane. This change is based upon Mr. Thao’s testimony

   at trial.

• At the bottom of page 13 of 35 in Count 3, Mr. Thao asks the

   following information be added: MPD policy does not allow for

   officers to allow bystanders to engage in medical attention or

   assistance at the scene. This change is based upon Mr. Thao’s

   testimony and evidence presented at trial.

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  • Mr. Thao objects to the first the defendants at the top of page 14.

     Instead it should read the other three defendants. This change is

     based upon Mr. Thao’s testimony at trial.

Paragraph 45:

  • Mr. Thao takes objection to the notion that he gave inconsistent or

     contradictory testimony while under oath. Mr. Thao requests the

     removal of the first sentence and leave the second one standing after

     “Nevertheless” is removed.

Paragraph 46:

  • Mr. Thao asks that the word “conversely” be removed.

  • Mr. Thao requests that “and the scene is safe” be bolded in the second

     to last line. This change is based upon Mr. Thao’s testimony at trial.

Paragraph 47:

  • Mr. Thao requests the first sentence be rewritten as “Thao’s testimony

     was that he was not aware that Mr. Floyd had a serious medical

     need.”

  • Mr. Thao requests that the word “conversely” be removed.

  • Mr. Thao request that the sentence at the bottom of page 14 and

     continuing on to page 15 be rewritten as “Thao testified that he

     believed that Mr. Floyd had eaten drugs, heard Mr. Floyd say he

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      “ate too many drugs”, and was suffering from excited delirium:”.

      This change is based upon Mr. Thao’s testimony at trial.

   • Mr. Thao requests the following sentence be added: Mr. Thao

      testified that he was trained by MPD to restrain someone

      suspected of excited delirium until medical personnel arrive to

      sedate and save their live by preventing a cardiac arrest.

Paragraph 56:

   • As indicated supra, Mr. Thao request that he receive a 4 or 3 level

      decrease for a mitigated role under US.S.G. §3B1.2.

Paragraph 106:

   • Mr. Thao requests that the age of employment be 14-20, reflecting his

      testimony.

                    GUIDELINES CALCULATIONS

      Pursuant to statute, the sentencing court is required to consider all the

factors listed under 18 U.S.C. § 3553(a) in determining an appropriate

sentence. The primary directive in § 3553(a) is for sentencing courts to

impose a sentence sufficient, but not greater than necessary, to comply with

the purposes set forth in 18 U.S.C. § 3553(a):

        (A) To reflect the seriousness of the offense, to promote respect for

             the law, and to provide just punishment for the offense:

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        (B) To afford adequate deterrence to criminal conduct;

        (C) To protect the public from further crimes of the defendant; and

        (D) To provide the defendant with needed educational or vocational

             training, medical care, or other correctional treatment in the

             most effective manner.

      In determining the minimally sufficient sentence, 18 U.S.C. § 3553(a)

further directs sentencing courts to consider the following factors:

      1. The nature and circumstances of the offense and the history and

         characteristics of the defendant;

      2. The kinds of sentences available;

      3. The need to avoid unwarranted sentencing disparities among

         defendants with similar records who have been found guilty of

         similar conduct; and

      4. The need to provide restitution to any victims of the offense.

      As recognized in Kimbrough v. United States, 128 S.Ct. 558 (2007), a

sentencing judge need not always accept the policy judgments implicit in the

Guidelines. The Court must examine other factors to create a sentence that

reflects the seriousness of the offense, promote respect for the law, and to

provide a just punishment. While the Guidelines range may serve as a

starting point and initial benchmark, the sentencing court may not presume


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that the Guidelines range is reasonable and must make an individualized

assessment as to the appropriate sentence based on all the relevant facts

presented. Gall v. United States, 129 S.Ct. 586 (2007). A variance from the

Guidelines based on a policy or “categorical” disagreement with the

guidelines where the guidelines in question “do not exemplify the

[Sentencing] Commission’s exercise of its characteristic institutional role,”

are entitled to as much “respect” as traditional “outside the heartland

departure.”     Spears v. United States, 555 U.S. 261, 264 (2009). The

sentencing court’s focus, therefore, is not whether to impose a Guidelines

sentence or to vary from the Guidelines. Instead, the linchpin of the

sentencing determination process involves a focus on the “overarching

provision instructing district courts to ‘impose a sentence sufficient, but not

greater than necessary,’ to achieve the goals of sentencing.” Kimbrough, 128

S.Ct. at 570.

   I. Involuntary Manslaughter is the appropriate base offense
         (§2A1.4)


      Mr. Thao incorporates the arguments made by his codefendant’s – Mr.

Kueng – counsel regarding the application of Involuntary Manslaughter as

the base offense instead of Second Degree Murder.




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      The PSR inappropriately applies U.S.S.G. §2A1.2. Second Degree

Murder resulting in an applicable Base Level Offense of 38. Mr. Thao

objects to the application of §2A1.2 based on the facts adduced at trial.

Instead, Section §2A1.4 (Involuntary Manslaughter) should be applied under

the facts of the case.

      This adjustment changes the base level offense to 18 and should be

corrected in paragraph 53. Using the second degree murder guideline

(§2A1.2) as the base offense level is incompatible with the calculation for

Deprivation of Rights Under Color of Law used in paragraph 59. The fact

that Mr. Thao’s single course of conduct resulted in a conviction for both

counts does not rationally support using two different offense guidelines

under Section 2H1.1(a) (“the offense level from the offense guideline

applicable to any underlying offense”). The rule of lenity, inter alia, requires

application of the involuntary manslaughter guideline, not the second degree

murder guideline.

   II. Color of Law Adjustment is inappropriate to apply to a police
         officer acting under the color of law (§2H1.1(b)(1)(B))

      Mr. Thao incorporates the arguments made by his codefendant’s – Mr.

Kueng – counsel, who argued that a Color of Law Adjustment is

inappropriate to apply to police officers who commit 18 U.S.C. § 242

violations because it is illogical and duplicative.
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      The six-level adjustment should not apply. Adding six levels for a

public official is duplicative of the charges of conviction and amounts to

double counting. According to Section 2H1.1(b)(1) a six-level increase

applies if the defendant was a public official or the offense was committed

under color of law. In other words, every violation of Title 18 U.S.C. § 242

would qualify for a six-level increase which clearly was not the intent of

Guidelines.Section 2H1.1, titled Offenses Involving Individual Rights,

applies to offenses other than convictions under Section 242 of Title 18.

Hence, the only logical interpretation of the Section 2H1.1(b)(1)

enhancement is that it may come into play for an offense committed under a

statute other than 18 U.S.C. § 242 (e.gs, 18 U.S.C. §§ 246, 247, 249, 1091).

      The Guidelines Commission must not have intended an absurd result

or double counting. The six levels increase under Section 2H1.1(b)(1) for a

violation of 18 U.S.C. § 242 is superfluous and does not apply.

   III.   Mitigated Role Adjustment (§3B1.2)

      The presentence investigation report does not address a mitigated role

adjustment pursuant to U.S.S.G. §3B1.2. Mr. Thao objects to this omission

and requests that a 4 (or at least a 3 level) reduction for mitigated role be

applied. See U.S.S.G. § 3B1.2.




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      Mr. Thao was substantially less culpable than the principal actor,

Derek Chauvin, and the other codefendants. While accepting the jury

verdict, Mr. Thao has a very different and distinct role than the others, who

were involved in the restraint of Mr. Floyd. Although obvious, it must be

noted that at no time during the entire encounter did Mr. Thao physically

touch Mr. Floyd, and in no way was involved in the restraint. As such, Mr.

Thao was not in a position to be able to monitor the pulse or breathing of

Mr. Floyd, or to determine whether CPR or additional medical intervention

was received.

   IV.   Advisory Guidelines

      Using a base level of 18, the victim related adjustment (+2), with a

reduction for a minimal participant (-4), the adjusted offense should be a

level 16. If a 3 level reduction is factored into the calculation, the adjusted

offense level should be 17. Based on a total offense level of 16 the

guidelines should read 21-27 months. Alternatively, if the total offense level

is 17, the guidelines should be 24-30 months.




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        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

   I. To reflect the seriousness of the offense, to promote respect for the
        law, and to provide just punishment for the offense

      Collateral consequences of a conviction may be considered by the

court in determining a fair sentence. See United States v. Pauley, 511 F.3d

474-74 (4th Cir. 2007); United States v. Nesbeth, 118 F.Supp.3d 179, 180

(E.D.N.Y. 2016).

      Mr. Thao has already been seriously punished for his conduct on May

25, 2020. His name is now infamous throughout Minnesota, the United

States, and the world as someone who stood by and watched Derek Chauvin

murder someone in the streets of Minneapolis. Mr. Thao’s face was

plastered across local and national newscasts, newspapers, and made into

viral photo posts and memes.

   II. To afford adequate deterrence to criminal conduct and to protect
         the public from further crimes of the defendant

      A criminal sentence needs to “afford adequate deterrent to criminal

conduct.”. § 3553(a)(2)(B). Mr. Thao will no longer be able to serve as a

licensed peace officer, and all future employment opportunities will be

limited by his felony conviction. There is no practical way Mr. Thao may

commit an offense under 18 U.S.C. § 242 because he will never again be in


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a position to act under a color of law. There is no danger or anyone being

hurt by Mr. Thao as a police officer because he is barred from becoming

one, forever.

      Criminal sentences should take specific deterrence for the particular

defendant, and general deterrence for potential future criminals. See United

States v. Peterson, 887 F.3d 343, 349 (8th Cir. 2018). The need for specific

deterrence has already been met. Mr. Thao has turned his life around to be

religious and one full of peace. Mr. Thao had a clean record before this

offense, and but for this specific event, he likely will never again be charged

with a crime. Mr. Thao has been punished via public opinion and will likely

never stop being vilified by the public after he reenters society after prison.

Adding more time to Mr. Thao’s sentence does nothing to further deter him

from actions he already will never make again.

       General deterrence to prevent others from committing the same

actions as Mr. Thao has already occurred – evidenced by the droves of

persons who left the Minneapolis Police Department and other police

departments in Minnesota and nationwide. Sentencing Mr. Thao more

harshly than reasonably necessary to deter him, would not add in deterring

future officers. Changes to Minneapolis Police Department policy, the

multiple multi-million dollar settlements Minnesotan cities have paid for


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police-killings, and the Executive Order to “Advance Effective, Accountable

Policing and Strengthen Public Safety”1 President Joe Biden signed on the

second year anniversary of George Floyd’s death have provided plenty of

general deterrence for any police officers who may become potential

criminals in the duration of their career. A powerful message has already

been sent to police officers across the nation that if a man dies as a result of

your actions or inactions, you will be punished.

    III.   The Nature and Circumstances of the Offense

       The death of Mr. Floyd and the circumstances of the incident leading

to his death are extraordinarily tragic; first, on a personal level to the family

and friends of Mr. Floyd, as well as to the historical significance of the

movement regarding racial justice and policing which arose as a result. In no

way is Mr. Thao attempting to minimize the death of Mr. Floyd, or his own

behavior and conduct.

       However, the required legal analysis for the sentencing framework

requires proper review to differentiate and compare Mr. Thao’s actions from

those of the primary actor, Derek Chauvin.

1
  Press Release, Briefing Room The White House, FACT SHEET: President Biden
to Sign Historic Executive Order to Advance Effective Accountable Policing and
Strengthen Public Safety (May 25, 2022) (https://www.whitehouse.gov/briefing-
room/statements-releases/2022/05/25/fact-sheet-president-biden-to-sign-historic-
executive-order-to-advance-effective-accountable-policing-and-strengthen-public-
safety/)
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       Following the incident, Mr. Thao cooperated completely with the

criminal investigation and legal process. Mr. Thao cooperated with the

involved-officer protocols in all aspects, including taking pictures, turning

over his uniform and handgun, and communicating with the BCA/FBI

investigation. Mr. Thao voluntarily met with law enforcement to give a

lengthy voluntary statement regarding the incident. Mr. Thao voluntarily

surrendered to law enforcement on two occasions when required to do so.

He cooperated with all conditions of his pretrial release, he appeared as

ordered to all court hearings, and he cooperated with the presentence

investigative process in all respects.

       Mr. Thao has refrained from giving any public statements regarding

this case, and has remained law abiding in all aspects following his

indictment.

       Moreover, Mr. Thao’s role in this case was very different from Mr.

Chauvin, as well as the other defendants, and to paint him and his actions

with the same brush is inappropriate. In this case the jury determined that the

actions of the responding officers, and Mr. Chauvin, caused the tragic death

of Mr. Floyd. In no way is Mr. Thao disputing the verdict as found by the

jury in this case.




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      However, the actions and conduct of Mr. Thao must be viewed in the

context of the information he possessed as the incident unfolded, and not

with the benefit of 20/20 hindsight. It must be noted that Mr. Thao and his

codefendants, along with the responding paramedics, all suspected that Mr.

Floyd was exhibiting signs of Excited Delirium, and these suspicions (based

on Mr. Thao’s training and experience) guided his decision making. Mr.

Thao is in no way arguing that this was the cause of Mr. Floyd’s death, but it

must be taken into context in analyzing his decisions and actions. Moreover,

Mr. Thao arrived on the scene when Officers Lane and Kueng had already

placed Mr. Floyd under arrest and were attempting to place him in a police

vehicle. Mr. Thao was the officer who suggested that Mr. Floyd be placed in

a hobble restraint and located a device in the vehicle. However, upon

learning that medical personnel had already been requested, Officer Chauvin

decided to keep Mr. Floyd restrained until medical personnel arrived due to

the suspicions of Excited Delirium (which is consistent with MPD policy on

Excited Delirium). Mr. Thao was the officer inquired about the status of the

medical personnel request, and upgraded it to a Code 3 (lights/sirens).

      Civil rights violations are serious offenses, and this is reflected in the

sentencing guidelines established by the Commission. As such, any sentence




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within the Guidelines Range reflects the seriousness of the offense and is

considered to be appropriate.

    IV.    The need to avoid unwarranted sentence disparities among
           defendants with similar records who have been found guilty of
           similar conduct

      A guidelines sentence of 24 months would avoid an unwarranted

sentencing disparity among the codefendants in this case. Mr. Chauvin, the

primary actor in the restraint and command structure, will likely receive a

sentence between 20-25 years for this case as well as an unrelated crime

committed as a police officer in 2017. Mr. Thao as no previous criminal

history, and was only convicted for his actions in a single incident.

      Moreover, his decisions and actions were made in reliance on the

training he received, which was fully vetted during the course of his trial.

Notably, since that time this training has been determined to be seriously

flawed by a Minnesota Department of Human Rights Report Commission

following this incident.2 Flawed as Mr. Thao’s decisions and actions were –

as found to be by the jury – his training still provides context to view his

conduct.


2
 Findings, Minnesota Department of Human Rights: Investigation into the City of
Minneapolis and Minneapolis Police Department (April 27, 2022)
(https://mn.gov/mdhr/assets/Investigation%20into%20the%20City%20of%20Min
neapolis%20and%20the%20Minneapolis%20Police%20Department_tcm1061-
526417.pdf )
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        Mr. Thao was not the main actor in this incident. He abided by and

relied upon training that we now know through a Department of Human

Rights probe was highly flawed. Mr. Thao was doing his job the way he was

taught to do it. Mr. Thao never touched George Floyd never held him down,

and he called for medical services.

        Mr. Thao urges the Court to use common sense in applying his

sentence at the lower end of the guidelines instead of the higher end, which

is logically reserved for more egregious actions/actors such as Derek

Chauvin.


   V.      The Need to Provide Restitution to any victims of the offense

        This factor is not applicable to Mr. Thao.


   VI.     Personal History

        Mr. Thao parents were Hmong refugees from Laos who came to the

United States in the aftermath of the Vietnam War. Mr. Thao was the third

of seven children, and had a very difficult upbringing on a number of levels.

Mr. Thao’s early childhood was spent in North Minneapolis, and although

his father worked regularly, his family struggled financially. Mr. Thao

recalled that most days his family only had enough food for one meal. Mr.

Thao and his siblings had few clothes, and would share with each other,


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allowing them to wear different clothes to school. At school, Mr. Thao and

his siblings were subjected to ethnic prejudice and bullying, and Mr. Thao

and his siblings were only allowed to play in their yard to avoid physical

abuse due to their ethnicity.

      At the age of 10, Mr. Thao’s family relocated to Fridley, partly to

escape the crime and prejudice they experienced in North Minneapolis, in

part to avoid Mr. Thao and his siblings from being recruited into street gangs

as some of his male cousins had been. This resulted in a different mode of

discrimination and bullying, as Mr. Thao’s family was one of the first

Hmong families in the city and in his schools.

      Additionally, Mr. Thao’s upbringing was fraught with domestic

violence and physical discipline/abuse. Mr. Thao’s father was the

unquestioned leader of the household and was quick to anger, which often

resulted in domestic abuse to various members of the family. Indeed, a scar

on Mr. Thao’s head is a permanent reminder of the abuse he suffered at the

hands of his father, beginning at a young age.

      In a cruel irony, this abuse led Mr. Thao to become a police officer.

On one occasion Mr. Thao and his brother got into a physical roughhousing

match which led to his father beating both of them and ultimately whipping

them with an extension cord. When his mother intervened, she too was


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whipped with an extension cord. Unrelenting, Mr. Thao’s father went to his

bedroom, retrieved a loaded handgun, and pointed it at their heads

threatening to kill all of them. Eventually, his father returned back to the

bedroom, and the rest of the family fled to a relative’s home where the

Minneapolis Police were called. Mr. Thao, still a young child, was chosen to

return to the family’s home with the police to assist in the identification and

arrest of his father. Mr. Thao recalls the two days his father was in jail as the

most peaceful days of his childhood.

      On the first day he could legally work – his fourteenth birthday – Mr.

Thao began working at a local restaurant to help support his family

financially. Mr. Thao continued to work when not in school and on

weekends until his high school graduation.

      Shortly thereafter, Mr. Thao’s parents and a majority of his siblings

moved to a different state seeking better employment, leaving Mr. Thao and

his brother behind. Mr. Thao enrolled in college the following fall, dropping

out after one semester of poor academic performance. It must be noted that

Mr. Thao worked the summer before and through the first failed semester of

college.

      Failing out of college caused Mr. Thao to reflect and refocus on his

own goals in life. He decided to become a police officer based in part on the


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earlier experience with the Minneapolis Police. To that end, he reenrolled in

college, rededicated himself as a student, and became a community service

officer with the MPD. Ultimately, he completed the MPD academy,

graduated from college, and in 2009 became a sworn police officer.

Unfortunately, the Great Recession hit and Mr. Thao, along with his entire

academy class, was let go. Instead of leaving for another police agency, Mr.

Thao worked security jobs until MPD obtained enough resources to rehire

his academy class again in 2012.

      Eventually, he married his childhood sweetheart and started a family.

Family is very important to Mr. Thao, as he shares his home with his wife,

children, and with his extended family. During the trial, there was not a

single day that passed without his wife and one of his siblings in the gallery.

But for him only being allowed two guests per day at the trial due to

COVID-19 protocols, there is no doubt that the gallery would have been full

of family members, friends, and former co-workers supporting Mr. Thao.

      When Mr. Thao was arrested for this case, he was held in solitary

confinement. He had serious thoughts of committing suicide and began

making a plan. One day he received a letter from a supporter who

recommended that Mr. Thao read The Book of Job and relate it to what he

was going through. Mr. Thao then read the book and prayed and decided to


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end his life. In a remarkable coincidence, a deputy came into his cell to

speak with him, indicating he wanted to discuss The Book of Job. As a result

of this, Mr. Thao reinvested himself in his faith. This transformation was

notable, as indicated by his wife telling him she thought the jail released the

wrong man because he was a totally different person upon returning home.

                              CONCLUSION

      Mr. Thao believes that the appropriate calculated Guidelines Range

for him is 24-30 months. Mr. Thao respectfully requests this Court impose a

sentence of 24 months imprisonment. This sentence would be sufficient, but

not greater than necessary to achieve the goals outlines in § 3553.

Respectfully submitted,

Dated: This 30th day of June, 2022            /s/ Robert M. Paule
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